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          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
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                                                 CALIFORNIA
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11                                                       Case Number: 2:15-CR-164-TLN
     THE UNITED STAES OF AMERICA,
12                                                       STIPULATION AND ORDER SETTING
               Plaintiff,                                HEARING DATE AND BRIEFING
13                                                       SCHEDULE
     v.
14                                                          Date: July 27, 2017
     MANUEL MARZIAL,                                        Time: 9:30 am
15                                                          Judge: Hon. Troy L. Nunley
               Defendant.
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               Plaintiff United States of America, by and through its counsel of record, and the
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     Defendant, by and through each counsel of record, hereby stipulate as follows:
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               1.       Attorney Hedberg believes that certain linguistic issues exist regarding Defendant
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     Manuel Marzial's ability to understand the Spanish language used by the interpreters in this case
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     so far;
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               2.      Attorney Hedberg has enlisted the assistance of Court interpreter coordinator
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     Yolanda Riley-Portal in order to find an interpreter who speaks the appropriate form of the
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 1   Zapoteco language spoken by Defendant Manuel Marzial, and that the search has not produced a

 2   qualified interpreter;

 3           3.      Because the translator situation is at an impasse Attorney Hedberg desires to
 4   move the Court to either locate and appoint a qualified interpreter or dismiss the Indictment as to
 5   Defendant Marzial;
 6           4.      By this stipulation, the parties now move the Court to adopt the following
 7   briefing/hearing schedule:
 8                   a. Defendant's opening brief filed June 8, 2017
 9
                     b. Government reply June 29, 2017
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                     c. Defendant's closing brief July 13, 2017
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                     d. Motion hearing July 27, 2017 9:30 am
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             5.      Further, the parties agree to move the status conference currently set for June 15,
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     2017 at 9:30 am be vacated as to defendant Marzial and the briefing/hearing schedule set forth
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     above be adopted and to exclude time between June 15 2017, and July 27, 2017 at 9:30 am,
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     under Local Code T4. Plaintiff does not oppose this request.
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             6.      The parties agree and stipulate, and request that the Court find the following:
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                     a.       Attorney Hedberg believes that a cognizable issue regarding Defendant's
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     comprehension of the proceedings in the matter at bar exists due to Defendant's inability to
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     understand the Spanish language interpreter;
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                     b.       Attorney Hedberg desires to move the Court to either locate an appropriate
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     interpreter of to dismiss the Indictment;
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                     c.       Attorney Hedberg believes that the litigation of the above-described issue
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     is necessary in order to provide Defendant with effective assistance of counsel.
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             d.       The government does not object to either the briefing schedule or continuance .
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 1          e.      Based on the above-stated findings, the ends of justice served by the litigation of

 2   the above described issue and continuing the case as requested outweigh the interest of the public

 3   and the defendant in a trial within the original date prescribed by the Speedy Trial Act.
 4          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
 5   et seq., within which trial must commence, the time period of June 15, 2017, to July 27, 2017 ,
 6   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D) [Local Code T4] because
 7   it results from a continuance granted by the Court at defendant’s request on the basis of the
 8   Court's finding that the ends of justice served by taking such action outweigh the best interest of
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     the public and the defendant in a speedy trial.
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            4. Nothing in this stipulation and order shall preclude a finding that other provisions of
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     the Speedy Trial Act dictate that additional time periods are excludable from the period within
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     which a trial must commence.
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     IT IS SO STIPULATED
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     Respectfully submitted
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     /s/ Olaf W. Hedberg                                                 /s/ Ross Naughton
18   Olaf W. Hedberg                                                      Ross Naughton
     Attorney for Manuel Marzial                                  Assistant United States Attorney
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               Case 2:15-cr-00164-TLN Document 63 Filed 06/08/17 Page 4 of 4



 1                                                ORDER
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 3          GOOD CAUSE APPEARING, it is hereby ordered that the June 15, 2017 status be
     vacated as to Defendant Marzial, and that the following briefing/hearing schedule be adopted:
 4
                    a. Defendant's opening brief filed June 8, 2017
 5
                    b. Government reply June 29, 2017
 6                  c. Defendant's closing brief July 13, 2017
 7                  d. Motion hearing July 27, 2017 9:30 am
             I find that the ends of justice warrant an exclusion of time and that the defendant’s need
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     for continuity of counsel and reasonable time for effective preparation exceeds the public interest
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     in a trial within 70 days. THEREFORE IT IS FURTHER ORDERED that time be excluded
10   pursuant to 18 U.S.C. § 3161 (h) (1)(D) and Local Code T4 from the date of this order to July 27,
11   2017 at 9:30 am.

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     IT IS SO ORDERED.
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     Dated: June 7, 2017

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                                                            Troy L. Nunley
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                                                            United States District Judge
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